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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE SKANSKA USA CIVIL                  *   ADMIRALTY RULE 9(H)
SOUTHEAST INC. AND                       *
                                         *
SKANSKA USA, INC. AS                         CIVIL ACTION NO.
                                         *
OWNERS OF THE BARGE KS                   *   3:20-CV-05980
5331, PRAYING FOR                        *
EXONERATION                              *   SENIOR DISTRICT JUDGE
FROM OR LIMITATION                       *   LACEY A. COLLIER
                                         *
OF LIABILITY                             *
                                         *   MAG. JUDGE
                                         *   HOPE THAI CANNON
                                         *
 SKANSKA USA CIVIL SOUTHEAST INC. AND SKANSKA USA, INC.'S
 UNOPPOSED MOTION AND MEMORANDUM TO PRESENT STROH
      EXPERT TESTIMONY BY DE BENE ESSE DEPOSITION
      COME NOW SKANSKA USA CIVIL SOUTHEAST INC. AND

SKANSKA USA, INC. ("Skanska") by and through their undersigned attorneys of

record and request this Court permit the presentation of expert opinion testimony

of their United States Coast Guard expert, Lincoln Stroh, through the presentation

of the written transcript and video recorded de bene esse deposition testimony. As

grounds, Skanska states the following:

      1.     Captain Lincoln Stroh, former United States Coast Guard Chief of

Staff is one of Skanska’s experts who will offer opinion testimony at trial.

      2.     Captain Stroh had adjusted his work duty schedule for attendance at

trial during the week of September 13, 2021, the pre-Hurricane Ida trial setting.

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       3.      Due to Hurricane Ida’s impact, trial was rescheduled to the week of

October 18, 2021.

       4.      Captain Stroh will be participating in an oil spill response exercise

during the rescheduled trial dates and will be unable to attend trial during the

scheduled dates of Skanska’s trial presentation.

       5.      His participation in the exercise prevents him from attending via live

remote video conference, should the Court have allowed that.

       6.      Claimants have a similar dilemma with their expert, Richard

Henning.

       7.      Skanska and Claimants have agreed to the de benne esse depositions

of both expert witnesses, to a schedule which accommodates all counsel and the

witnesses, and to present their prerecorded testimony to the Court.

       8.      Skanska makes this request pursuant to Fed. R. Civ. Pro. 32(a)(1) and

32(a)(4)(E).

       9.      With the mutual consent of the parties we respectfully request the

Court approve the presentation of Captain Stroh’s testimony via his prerecorded

video testimony and transcript.



                     [SIGNATURE FOLLOWS ON NEXT PAGE]




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                              Respectfully submitted:

                              /s/ Scott A. Remington
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                              and

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                              Inc. and Skanska USA, Inc.




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     CONFERENCE WITH COUNSEL CERTIFICATION – RULE 7.1

      The undersigned counsel pursuant to N.D. Fla. Loc. R. 7.1 has conferred

with opposing counsel, Claimants’ counsel, who consent to the relief requested.

                                       /s/ Derek A. Walker
                                       DEREK A. WALKER



         CERTIFICATE OF COMPLIANCE AS TO WORD COUNT

      I hereby certify that, as required by Local Rule 7.1(F), this Unopposed

Motion and Memorandum to Present Stroh Expert Testimony by De Bene Esse

Deposition contains 330 words, counted as provided in Local Rule 7.1(F).

                                       /s/ Scott A. Remington
                                       SCOTT A. REMINGTON




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been filed with the

Clerk of Court and furnished to all counsel of record through the Court’s CM/ECF

electronic filing system on this 3rd day of October, 2021:


                                       /s/ Scott A. Remington
                                       SCOTT A. REMINGTON




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